Case 2:09-md-02047-EEF-MBN Document 21422-1 Filed 06/20/18 Page 1 of 3

Professional's Choice
Environmental Testing”
1675 N. Commerce Parkway, Weston, FL 33326
Fel: (954) 384-ddd6 = Fax: (954) 384-4838

Report Number: 832061

Certificate of Drywall Analysis

Prepared for:
Phone Number:
Email Address:
Test Address:

Collection Location
Date Collected:
Receive Date:
Report Date:

Gregg Descher
228-697-5834
Gdescher@hotmail.com

Descher Residence
5724 Via Toscano
Ocean Springs, MS 39564

Garage (832061-1) Master Bedroom Closet (832061-2)
March 18, 2015
March 19, 2015
March 30, 2015

Conk fret athe (ls, 0s Les

Erika Piechowski, Technical Manager Carlos Ochoa, Quality Control Manager °

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express or implied warcanties a3 to health ofa property from only the samples sent to their laboratory for analysts. The Client is hereby notified that all samples of gypsum board are seal to
Columbia Analytical Services. After the testing, samples and are retained for a 7-day period, after which they are discarded in a manner consistent with focal and federal guidelines.

Alb tests are subject to false positives and false negatives and the analyses and interpretation{s) made herein ntay not be regarded as a basis for taking any action regarding health or remediation

of the tested ntateriats.

For more information please contact PRO-LAB at 954-384-4446

EXHIBIT

PRO-LAB/SSPTM, Inc, Report #832061 ; : Page t of 2

Case 2:09-md-02047-EEF-MBN Document 21422-1 Filed 06/20/18 Page 2 of 3

Professional's Choice
Environmental Testing”

Report Number: 832061

Analysis Date: March 30, 2015
Report Date: March 30, 2015

Case Narrative

Approximately | gram of gypsum board was prepared and analyzed using a GC ECD (Gas
Chromatograph Electron Capture Detector) method, This analysis technique is used to determine the
amount of Elemental Sulfur (orthorhombic sulfur, cyclooctasulfur, $8) in your sample. The Consumer
Product Safety Commission (CPSC) has determined that Elemental Sulfur analysis of suspected
contaminated drywall is the most accurate way to test (SUMMARY OF REVISION | TO THE INTERIM
GUIDANCE — IDENTIFICATION OF HOMES WITH CORROSION FROM PROBLEM DRYWALL, AUGUST 27,
2010). Gypsum in drywall samples from homes containing greater than 10 mg/kg is believed to contribute
to sulfur gasses emitted from corrosive drywall.

(http://www.doh.state. fl us/environment/community/indoor-ait/casedefinition. html)

Results

Elemental Sulfur was DETECTED above a level (>10 kg/mg) the CPSC has determined as being a
marker for problem drywall gypsum product (http://www.cpsc.gov/info/drywali/guidance0827 pdf).

Conclusion (POSITIVE FOR CONTAMINATED DRYWALL)

The testing shows this sample is consistent with problem drywall product known to cause corrosive
conditions demonstrated by the formation of copper sulfide (blackening) on any or all of the electronic
components, copper grounding wires, copper air conditioning coils, and corrosive for copper pipes;
specifically air conditioning condensor coils. The positive results of the GC ECD testing indicate the
presence of high levels of Elemental Sulfur that the CPSC uses to distinguish between problematic and
non-problematic drywall product.

This is only an analytical report. The interpretation and application of results are left to the user’,

Drywall Analysis Results Elemental Sulfur* 220 mg/kg (ppm)

*(LOQ = 5 mg/kg, See attached Laboratory data)

Copper wiring and AC condensor coils, copper wiring, and other electronic components are likely to
show blackening due to gasses produced from your sample of drywall. The State of Florida has an
excellent self-assessment guide for evaluating homes affected by drywall from China.

(htip://Avyw.doh. state, fl.us/environment/community/indoor-air/inspections html).

END OF REPORT

PRO-LAB/SSPTM, Inc. Report #832061 Page 2 of 2
Case 2:09-md-02047-EEF-MBN Document 21422-1 Filed 06/20/18 Page 3 of 3

ALS ENVIRONMENTAL
RESULTS OF ANALYSIS
Page | of |
Client: PRO-LAB, Inc,
Client Project ID: Drywall Investigation ALS Project 1D: P1501147
Orthorhombic Cyclooctasulfur

Test Code: ALS AQL 103A
Instrument ID: HP68904/GC23/ECD Date Received: 3/23/15

Analyst: Zheng Wang Date Extracted: 3/26/15

Sainple Type: Wallboard Date Analyzed: 3/26/15
Test Notes:

Saniple Extract
Client Sample ID ALS Sample [D Amount Volume Dilution Result LOQ Data
Grani{s) mi(s) _—_ Factor mg/Kg mg/Kg Qualifier

832061-1 P1501147-001 1.00 5.0 1.60 120 5.0

8320612 P1501 147-002 1.00 5.0 1.00 350 5.0

Negative Control Sample P150326-NCS 1.00 5.0 1.00 ND 5.0

ND = Compound was analyzed for, but not detected above the limit of quantitation.
LOQ = Limit of Quantitation.

According to the Florida Department of Health (http:/Avww.doh.state. fLusfenviroument/community/indcor-air/casedefinition.html, 1/5/2010),
a positive result above 10 mg/kg is indicative of corrosive drywall.
A positive result between 5-10 mg/kg is inconclusive; further testing may be warranted.

LABORATORY CONTROL SAMPLE / DUPLICATE LABORATORY CONTROL SAMPLE SUMMARY

Spike Amount Result ALS
Client Sample ID ALS Sample IBD = =LCS/DLCS LCS DLCS % Recovery Acceptance RPD RPD Data
me/Ke mg/Kg me/Ke LCS DLCS Limits Limit Qualifier
Dup Lab Control Sample — P150326-DLCS I4i 150 140 106 99 89-114 7 7

PISOIIST SR 1SO3271H50 SC xt. SE . Adulte. ProeNn-
